       Case 2:11-cv-00474-SRB Document 1 Filed 03/11/11 Page 1 of 5



 1   Marshall Meyers (020584)
 2   WEISBERG & MEYERS, LLC
     5025 North Central Ave., #602
 3   Phoenix, AZ 85012
 4
     602 445 9819
     866 565 1327 facsimile
 5   mmeyers@AttorneysForConsumers.com
 6
     Attorney for Plaintiff

 7
                              UNITED STATES DISTRICT COURT

 8
                               FOR THE DISTRICT OF ARIZONA

 9   Richard Kellar,                  ) Case No.
10
                                      )
     Plaintiff,                       ) COMPLAINT AND TRIAL BY JURY
11                                    ) DEMAND
            vs.                       )
12
                                      )
13   Ewing & Ewing Attorneys, PC and)
     Cavalry Portfolio Services, LLC, )
14
                                      )
15   Defendants.                      )
16
                                       NATURE OF ACTION
17

18           1.    This is an action brought under the Fair Debt Collection Practices Act
19
     (“FDCPA”), 15 U.S.C. § 1692 et seq.
20
                                   JURISDICTION AND VENUE
21

22           2.    This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28 U.S.C. §
23
     1331.
24
             3.    Venue is proper before this Court pursuant to 28 U.S.C. §1391(b), where
25

26   the acts and transactions giving rise to Plaintiff’s action occurred in this district, where
27   Plaintiff resides in this district, and/or where Defendants’ transact business in this district.
28




                                               Complaint - 1
       Case 2:11-cv-00474-SRB Document 1 Filed 03/11/11 Page 2 of 5



 1                                            PARTIES
 2
            4.     Plaintiff, Richard Kellar (“Plaintiff”), is a natural person who at all relevant
 3

 4
     times resided in the State of Arizona, County of Maricopa, and City of Mesa.

 5          5.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
 6
            6.     Defendant, Ewing & Ewing Attorneys, PC (“E&E”) is an entity which all
 7

 8
     relevant times was engaged, by use of the mails and telephone, in the business of

 9   attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C. §1692a(5).
10
            7.     E&E is a “debt collector” as defined by 15 U.S.C. § 1692a(6).
11
            8.     Defendant, Cavalry Portfolio Services, LLC, (“CPS”) is an entity who
12

13   acquires debt in default merely for collection purposes, and who at all relevant times was
14
     engaged in the business of attempting to collect a debt from Plaintiff.
15
            9.     CPS is a “debt collector” as defined by 15 U.S.C. § 1692a(6).
16

17                                 FACTUAL ALLEGATIONS
18
            10.    Plaintiff is a natural person obligated, or allegedly obligated, to pay a debt
19
     owed or due, or asserted to be owed or due a creditor other than E&E.
20

21          11.    Plaintiff’s obligation, or alleged obligation, owed or due, or asserted to be
22   owed or due a creditor other than E&E, arises from a transaction in which the money,
23
     property, insurance, or services that are the subject of the transaction were incurred
24

25   primarily for personal, family, or household purposes.

26          12.    Plaintiff incurred the obligation, or alleged obligation, owed or due, or
27
     asserted to be owed or due a creditor other than E&E.
28
            13.    E&E uses instrumentalities of interstate commerce or the mails in a


                                              Complaint - 2
       Case 2:11-cv-00474-SRB Document 1 Filed 03/11/11 Page 3 of 5



 1   business the principal purpose of which is the collection of any debts, and/or regularly
 2
     collects or attempts to collect, directly or indirectly, debts owed or due, or asserted to be
 3

 4
     owed or due another.

 5          14.       CPS purchases debts once owed or once due, or asserted to be once owed
 6
     or once due a creditor.
 7

 8
            15.       CPS acquired Plaintiff’s debt once owed or once due, or asserted to be once

 9   owed or once due a creditor, when the debt was in default.
10
            16.       CPS is thoroughly enmeshed in the debt collection business, and CPS is a
11
     significant participant in E&E’s debt collection process.
12

13          17.       Defendant represented that Plaintiff owes a debt that Plaintiff does not in
14
     fact owe. (15 U.S.C. § 1692e(2)(A), 1692e(10)).
15
            18.       Defendant Ewing & Ewing, P.C., itself and on behalf of Defendant Cavalry
16

17   Portfolio Services, LLC, sent Plaintiff written communication dated October 7, 2010 in
18
     which Defendant failed to meaningfully convey Plaintiff with the notices requires by 15
19
     U.S.C. § 1692g(a) et seq.        Defendant’s letter contained the following statement, in
20

21   relevant part:
22

23

24

25
            This statement would lead a less sophisticated consumer to mistakenly believe (1)

26   that a request for validation could be made orally and (2) that the entire debt must be
27
     disputed by Plaintiff, instead of any portion of the debt, and as such, fails to provide the
28
     notices required by 15 USC § 1692g(a) et seq., either in the initial communication with


                                               Complaint - 3
       Case 2:11-cv-00474-SRB Document 1 Filed 03/11/11 Page 4 of 5



 1   Plaintiff, or in writing within 5 days thereof. (15 U.S.C. § 1692g(a) et seq.).
 2
                               COUNT I—VIOLATIONS OF THE FDCPA
 3                                     DEFENDANT E&E
 4
            19.      Plaintiff repeats and re-alleges each and every allegation above.
 5

 6
            20.      Defendant E&E violated the FDCPA as detailed above.

 7          WHEREFORE, Plaintiff prays for relief and judgment, as follows:
 8
                  a) Adjudging that E&E violated the FDCPA;
 9
                  b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the
10

11                   amount of $1,000.00;
12
                  c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;
13
                  d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in this
14

15                   action;
16
                  e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
17
                     allowed under the law;
18

19                f) Awarding such other and further relief as the Court may deem just and
20
                     proper.
21
                           COUNT II—VIOLATIONS OF THE FDCPA
22                                  DEFENDANT CPS
23
            21.      Plaintiff repeats and re-alleges each and every allegation above.
24

25          22.      Defendant CPS violated the FDCPA as detailed above.

26          WHEREFORE, Plaintiff prays for relief and judgment, as follows:
27
                  a) Adjudging that CPS violated the FDCPA;
28
                  b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k, in the


                                               Complaint - 4
     Case 2:11-cv-00474-SRB Document 1 Filed 03/11/11 Page 5 of 5



 1               amount of $1,000.00;
 2
              c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;
 3

 4
              d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in this

 5               action;
 6
              e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be
 7

 8
                 allowed under the law;

 9            f) Awarding such other and further relief as the Court may deem just and
10
                 proper.
11
                                       TRIAL BY JURY
12

13      23.      Plaintiff is entitled to and hereby demands a trial by jury.
14

15               Respectfully submitted this 11th day of March, 2011
16
                                By: s/ Marshall Meyers
17                              Marshall Meyers (020584)
                                WEISBERG & MEYERS, LLC
18
                                5025 North Central Ave., #602
19                              Phoenix, AZ 85012
                                602 445 9819
20
                                866 565 1327 facsimile
21                              mmeyers@AttorneysForConsumers.com
                                Attorney for Plaintiff
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                                            Complaint - 5
